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 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   DECLARATION OF AMY MASON SAHARIA
16                                             )   IN SUPPORT OF MS. HOLMES’ NOTICE OF
       v.                                      )   FILING
17                                             )
     ELIZABETH HOLMES and                      )
18   RAMESH “SUNNY” BALWANI,                   )   Hon. Edward J. Davila
                                               )
19          Defendants.                        )
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     DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’
     NOTICE OF FILING
     CR-18-00258 EJD
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 1          I, AMY MASON SAHARIA, declare as follows:

 2          1.     I represent Defendant Elizabeth Holmes and have been admitted to practice pro hac vice

 3 in the above-captioned matter. I submit this declaration in support of Ms. Holmes’ Notice of Filing. I

 4 attest to the following facts upon which the Notice relies.

 5          2.     Attached to this declaration are 11 exhibits. The contents of the exhibits are as follows:

 6                 a.      Exhibit 1 is a true and correct copy of TX1938.

 7                 b.      Exhibit 2 is a true and correct copy of copy of TX5400.

 8                 c.      Exhibit 3 is a true and correct TX7164, redacted to protect confidential

 9 information.

10                 d.      Exhibit 4 is a true and correct copy of TX7673A.

11                 e.      Exhibit 5 is a true and correct copy of TX7690.

12                 f.      Exhibit 6 is a true and correct copy of TX7693.

13                 g.      Exhibit 7 is a true and correct copy of TX7710, redacted to protect confidential

14 information.

15                 h.      Exhibit 8 is a true and correct copy of TX14125, redacted to protect confidential

16 information.

17                 i.      Exhibit 9 is a true and correct copy of TX14138, redacted to protect confidential

18 information.

19                 j.      Exhibit 10 is a true and correct copy of TX14139, redacted to protect confidential

20 information.

21                 k.      Exhibit 11 is a true and correct copy of TX14168, redacted to protect confidential

22 information.

23          I declare under penalty of perjury under the laws of the United States that the foregoing is true

24 and correct to the best of my knowledge.

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26          Executed this 20th day of December 2021 in San Jose, CA.

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28 DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’
   NOTICE OF FILING
   CR-18-00258 EJD
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 2                                          AMY MASON SAHARIA
                                            Attorney for Elizabeth Holmes
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28 DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’
   NOTICE OF FILING
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